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       Case: 19-30088            Doc# 4162-3           Filed: 10/08/19         Entered: 10/08/19 15:30:05                 Page 1
                                                                of 1
